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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF KANSAS


AUDREY REED

                      Plaintiff,

                                                            Case No. 22-2147
v.


PHH MORTGAGE CORPORATION
EXPERIAN INFORMATION SOLUTIONS, INC.
EQUIFAX INFORMATION SERVICES, LLC
TRANS UNION, LLC

                      Defendants.


                      NOTICE OF SETTLEMENT WITH EXPERIAN

        COMES NOW Plaintiff Audrey Reed, by and through her undersigned counsel, hereby
submits this Notice of Settlement to notify the Court that the Plaintiff has settled her claims as
pertain to Defendant Experian Information Solutions, Inc., and requests 45 days in which to file
the dismissal.


                                                    By: /s/ Ryan D. Knipp
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